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        United States Court of Appeals
             for the Fifth Circuit                          United States Court of Appeals
                                                                     Fifth Circuit

                           _____________                           FILED
                                                               June 20, 2025
                             No. 24-30706                     Lyle W. Cayce
                           _____________                           Clerk

Darcy Roake, Reverend, on behalf themselves and on behalf
of their minor children, real party in interest A.V., real party
in interest S.V.; Adrian Van Young, on behalf of themselves and
on behalf of their minor children, real party in interest A.V., real
party in interest S.V.; Mamie Broadhurst, Reverend, on
behalf of themselves and on behalf of their minor child, real party in
interest N.W.; Richard Williams, Reverend, on behalf of
themselves and on behalf of their minor child, real party in interest
N.W.; Jeff Sims, Reverend, on behalf of himself and on behalf of his
minor children, real party in interest A.S., real party in
interest C.S. 1, real party in interest C.S. 2; Jennifer
Harding, on behalf of themselves and on behalf of their minor child, real
party in interest A.O.; Benjamin Owens, on behalf of themselves
and on behalf of their minor child, real party in interest A.O.;
David Hawley, on behalf of themselves and on behalf of their minor children
real party in interest A.H., real party in interest L.H.;
Erin Hawley, on behalf of themselves and on behalf of their minor children,
real party in interest A.H, real party in interest L.H.;
Dustin McCrory, on behalf of themselves and on behalf of his minor
children, real party in interest E.M.; real party in
interest P.M., real party in interest L.M.; Gary
Sernovitz, on behalf of themselves and on behalf of their minor child, real
party in interest T.S.; Molly Pulda, on behalf of themselves and
on behalf of their minor child. real party in interest T.S.;
Christy Alkire, on behalf of herself and on hehalf of her minor child,
real party in interest L.A.; Joshua Herlands, on behalf of
himself and on behalf of his minor children, real party in interest
E.H., real party in interest J.H.,

                                                      Plaintiffs—Appellees,
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                              No. 24-30706




                                 versus

Cade Brumley, in his official capacity as the Louisiana State
Superintendent of Education; Conrad Appel, in his official capacity as a
member of the Louisiana State Board of Elementary and Secondary Education
(LSBESE); Judy Armstrong, in her official capacity as a member of the
LSBESE; Kevin Berken, in his official capacity as a member of the
LSBESE; Preston Castille, in his official capacity as a member of
LSBESE; Simone Champagne, in her official capacity as a member of the
LSBESE; Sharon Latten-Clark, in her official capacity as a member
of the LSBESE; Lance Harris, in his official capacity as a member of
LSBESE; Paul Hollis, Louisiana State Board of
Elementary and Secondary Education; Sandy Holloway,
in her official capacity as a member of the LSBESE; Stacey Melerine, in
her official capacity as a member of the LSBESE; Ronnie Morris, in his
official capacity as a member of the LSBESE; East Baton Rouge
Parish School Board; Livingston Parish School Board;
Vernon Parish School Board; St. Tammany Parish
School Board,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                  for the Middle District of Louisiana
                        USDC No. 3:24-CV-517
              ______________________________

Before Dennis, Haynes, and Ramirez, Circuit Judges.

                          JUDGMENT

      This cause was considered on the record on appeal and was argued by
counsel.




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       IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.
       IT IS FURTHER ORDERED that Appellants pay to Appellees
the costs on appeal to be taxed by the Clerk of this Court.
       The judgment or mandate of this court shall issue 7 days after the time
to file a petition for rehearing expires, or 7 days after entry of an order denying
a timely petition for panel rehearing, petition for rehearing en banc, or motion
for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.
       James L. Dennis, Circuit Judge, concurring.




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